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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                 )
JOEL JEANNITE,                                   )
                                                 )
                Plaintiff,                       )
                                                 )
                v.                               )
                                                        Civil Action No. 23-cv-11884-DJC
                                                 )
LUCY, Manager for Alaska Airlines at             )
Boston Logan Airport,                            )
                                                 )
                Defendant.                       )
                                                 )

                                               ORDER

CASPER, J.                                                                  November 20, 2023

        This action concerns the claims of pro se Plaintiff Joel Jeannite (“Jeannite”) that an

employee of Alaska Airlines wrongfully informed law enforcement that he was carrying $44,000

in his luggage. D. 1, 1-1. For the reasons stated below, the Court DISMISSES this action without

prejudice for failure to pay the filing fee.

        When Jeannite commenced this action, he moved for leave to proceed in forma pauperis

instead of paying the $402 fee for commencing a non-habeas civil action. D. 2. On October 6,

2023, the Court denied the in forma pauperis motion because it did not contain sufficient

information regarding Jeannite’s financial circumstances. D. 4. The Court ordered Jeannite to pay

the filing fee or file a renewed motion to proceed in forma pauperis, and noted that failure to

comply with the Order could result in dismissal of the action. Id.

        The Clerk mailed a copy of the October 6, 2023 order and a blank in forma pauperis form

to Jeannite at the address he had provided: 1756 Dorchester Avenue, Dorchester, MA 02124. On

October 30, 2023, this mail was returned as undeliverable. D. 5, 6. Jeannite has not provided

another address for service.

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       The deadline for complying with the filing fee order has passed without any response from

Jeannite. Thus, this case is ripe for dismissal even as a copy of the October 6, 2023 Order mailed

to Jeannite was returned as undeliverable. See L.R. 83.5.5(h) (D. Mass.) (providing that a party is

deemed to have been delivered and properly served if the Clerk mailed the order to the most recent

address provided by the litigant).

       Even if the address the Clerk used was correct, but the mail was erroneously returned as

undeliverable, Jeannite had a duty to inquire about the status of this case. Due to the large number

of cases he filed in August 2023, Jeannite received ample notice that his in forma pauperis motion

was defective. The Clerk sent eighteen similar orders, in different cases, in and around August

2023 concerning the filing fee to Jeannite at the address provided in this action. 1 None of those

orders were returned as undeliverable and all of the cases were subsequently dismissed because

Jeannite failed to respond to the orders regarding the filing fee.

       Accordingly, this action is DISMISSED without prejudice for failure to pay the filing
fee.

       So Ordered.

                                             /s Denise J. Casper
                                             Denise J. Casper
                                             United States District Judge




1
 See Jeannite v. Perez, C.A. No. 23-11545-IT; Jeannite v. Correia, C.A. No. 23-11638-WGY;
Jeannite v. Sciacca, C.A. No. 23-11689-AK; Jeannite v. ADS Smith, C.A. No. 23-11812-IT;
Jeannite v. Minnicucci, C.A. No. 23-11886-LTS; Jeannite v. Doe, C.A. No. 23-11887-AK;
Jeannite v. Contelmo, C.A. No. 23-11977-TSH; Jeannite v. Horton, C.A. No. 23-11988-RGS;
Jeannite v. Butler, C.A. No. 23-11989-LTS; Jeannite v. Parker, C.A. No. 23-11991-ADB; Jeannite
v. White, C.A. No. 23-11992-AK; Jeannite v. Olivia, C.A. No. 23-11993-ADB; Jeannite v. Smith,
C.A. No. 23-11994-AK; Jeannite v. Villa, C.A. No. 23-11995-MJJ; Jeannite v. Metruck, C.A. No.
23-11996-ADB.

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